           Case 1:22-cr-00381-JEB Document 39 Filed 04/21/23 Page 1 of 1




        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                    )
                                            )
   v.                                       )      USDC No. 22-cr-381
                                            )
Jacob Michael Therresm defendant.           )

                                        NOTICE
                              (Exhibit: Photos of projects)



         THE COURT WILL PLEASE NOTE filing of the attached Exhibit (1 page) in allocution

for sentencing.

         This notice is,

                                            Respectfully submitted,

                                                Nathan I. Silver

                                            NATHAN I. SILVER, ESQ.
                                            D.C. Bar No. 944314
                                            6300 Orchid Drive, Bethesda, MD 20817
                                            (301) 229-0189/(301) 229-3625 (fax)
                                            Email: nisquire@aol.com

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of this Notice has been served upon Andrew J.
Tessman, Esq.., USAO-DC, attorney of record for the United States, via ECF this 21sth day of
April, 2023.

                                            __Nathan I. Silver_____
                                            Nathan I. Silver
